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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA


v.                                                                 Case No. 3:07cr114/LAC

ALEKSANDER BERMAN

_______________________________/


                                           ORDER

       This Cause is before the Court on Defendant’s Motion to Revoke or Amend the

Detention Order entered by the Magistrate Judge on August 27, 2007.

       A magistrate’s pretrial detention order must be reviewed de novo by the district court.

See United States v. Hurtado, 779 F.2d 1467, 1481 (11th C ir. 1985). The court must

“exercise independent consideration of all facts properly before it,” United States v. Gaviria,

828 F.2d 667, 670 (11th Cir. 1987) (citing Hurtado, 779 F.2d at 1480-81), but this does not

require that the district court conduct a de novo hearing. See United States v. King, 849 F.2d

485, 490 (11th Cir. 1988). If, after careful review of the pleadings and the evidence

presented at the magistrate’s detention hearing, the district court concludes that the

magistrate’s findings of fact are supported and conclusions of law are correct, the court need

only state that it adopts the magistrate’s pretrial detention order. Id. at 490.
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          In his motion, Defendant challenges the Magistrate’s conclusions of fact and law

based on the evidence presented, but after a thorough review of the pleadings, the transcript,

and the factors set forth in 18 U.S.C. § 3142(g), the Court is in full agreement with the

Magistrate’s finding that the Defendant poses a significant risk of flight and a potential threat

to the alien witnesses in this case, and that there is no condition or combination of conditions

of release that would reasonably assure Defendant’s appearance at trial were he to be

released. The Court therefore adopts the Magistrate’s pretrial order of detention.

          Accordingly, it is hereby ORDERED AND ADJUDGED:

          Defendant's Motion for Revocation of the Detention Order (doc. 29) is DENIED.

Defendant shall remain on pretrial detention in accordance with the Magistrate's Order of

August 27, 2007, until further Order of the Court.

          ORDERED on this 3rd day of October, 2007.




                                                             s/L.A. Collier
                                                             Lacey A. Collier
                                                     Senior United States District Judge




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